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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                :
MICHAEL C. DONATELLO, derivatively              :       Civil Action No.
on behalf of COMSCORE, INC.,                    :
                                                :
                                   Plaintiff,   :
                                                :       VERIFIED SHAREHOLDER DERIVATIVE
v.                                              :       COMPLAINT FOR VIOLATIONS OF THE
                                                :       FEDERAL SECURITIES LAWS AND
                                                :       STATE LAW CLAIMS FOR BREACHES OF
                                                :       FIDUCIARY DUTIES AND UNJUST
GIAN M. FULGONI, WILLIAM P.                     :       ENRICHMENT
LIVEK, SERGE MATTA, MAGID M.                    :
ABRAHAM, DAVID I. CHEMEROW,                     :
MELVIN F. WESLEY III, KENNETH J.                :
TARPEY, WILLIAM J. HENDERSON,                   :
WILLIAM E. ENGEL, RUSSELL                       :
FRADIN, RONALD J. KORN, BRENT D.                :
ROSENTHAL, JEFFREY GANEK,                       :
WILLIAM KATZ, JOAN M. LEWIS, and                :
PATRICIA A. GOTTESMAN,                          :
                                                :       JURY TRIAL DEMANDED
                                Defendants,     :
                                                :
and                                             :
                                                :
COMSCORE, INC.,                                 :
                                                :
                       Nominal Defendant.       :
                                                :
                                                :

                VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

       1.      Plaintiff Michael C. Donatello (“Plaintiff”), by and through his undersigned

attorneys, hereby submits this Verified Shareholder Derivative Complaint (the “Complaint”) for

the benefit of nominal defendant comScore, Inc. (“comScore” or the “Company”), against

certain current and former members of its Board of Directors (the “Board”) and executive

officers seeking to remedy defendants’ violations of federal securities laws, breaches of fiduciary

duties, and unjust enrichment, from at least 2013 through the present (the “Relevant Period”).

Plaintiff makes these allegations upon personal knowledge and the investigation of counsel,

which included, among other things, review and analysis of: a) public filings made by comScore

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and other related parties and non-parties with the Securities and Exchange Commission (“SEC”);

b) press releases and other publications disseminated by certain of the defendants and other

related non-parties; c) news articles, shareholder communications, and postings on comScore’s

website concerning the Company’s public statements; and d) other publicly available

information concerning comScore and the defendants. Plaintiff believes that substantial

evidentiary support will exist for the allegations set forth herein after a reasonable opportunity

for discovery.

                                  NATURE OF THE ACTION

       2.        Plaintiff, on behalf of nominal defendant comScore, contends that the Individual

Defendants (defined herein) caused the Company to: (i) repeatedly overstate its publically-

reported financial results in violation of Generally Accepted Accounting Principles (“GAAP”);

(ii) operate without effective internal controls to guard against the issuance of false financial

reporting; (iii) file false and misleading statements with the SEC; and (iv) permit certain of its

current and former executives to profit from this misconduct. As a result, the Company has

been, and will most certainly continue to be, harmed.

       3.        According to its public filings, comScore is a technology-driven company that

measures what people do as they navigate the digital world across technology platforms and

devices including smartphones, tablets, televisions, and desktop computers. The Company

provides trusted, independent data, metrics, products and services to clients in the media,

advertising, and marketing industries.     According to the Company’s last published Annual

Report on Form 10-K, filed with the SEC on February 20, 2015 (the “2014 10-K”), the Company

provided service to approximately 2,550 customers worldwide.




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       4.     In 2013, the Individual Defendants (defined herein) caused the Company to

improperly account for data-sharing agreements entered into between comScore and other

companies that had no cash attached. These “barter” agreements were valued at “fair-value

estimates,” which, in turn: (i) boosted comScore’s reported earnings; (ii) concealed how and the

extent to which Individual Defendants’ use of nonmonetary transactions overstated the

Company’s reported revenues and earnings; and (iii) enabled certain defendant insiders,

including Chief Executive Officer (“CEO”), Defendant Serge Matta (“Matta”) and Chief

Financial Officer (“CFO”), Defendant Melvin Wesley (“Wesley”), to line their pockets with

proceeds from ill-gotten stock sales. Importantly, Defendants Matta and Wesley were given

multimillion-dollar stock grants by the Board based on comScore’s surging stock price, which

were divided into four blocks that vested or could be exercised at progressively higher share

prices ranging from $48 to $60.

       5.     Defendants Matta and Wesley ultimately received all of their performance-based

restricted stock awards, which were granted by the Board, including those members then-serving

on the Board’s Compensation Committee, between March and August 2015. During that period,

comScore’s stock rose following earnings announcements for the fourth quarter of 2014 and the

first and second quarters of 2015.      Further, during that 9-month period, the Individual

Defendants caused the Company to report revenue growth of 15% year over year. In fact, as was

later revealed, actual revenue growth for this period was only about 9% once the inaccurate

nonmonetary revenue associated with the barter agreements were removed from the equation.

       6.     While the market absorbed the Individual Defendants’ misleading statements

concerning the Company’s revenue growth, causing the Company’s stock to climb higher,

Defendants Matta and Wesley, along with the other Insider Selling Defendants (defined herein),



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cashed-in, reaping millions in illicit proceeds. For instance, the restricted shares Defendant

Matta received from the Compensation Committee were worth a total of $7.6 million on the days

they vested. He sold a total of $6.7 million worth of stock between March and August of 2015,

not including shares sold to cover taxes, and all the while aware of material, negative

information related to the Company’s financial health and performance.

        7.        In addition to the sheer size of the Insider Selling Defendants’ stock sales, their

timing and their connection to what amounted to be fictitious growth, renders them increasingly

suspicious.       Notably, the Company’s stock price received a particularly big boost from

nonmonetary revenue in the weeks leading up to August 23, 2015, when the Insider Selling

Defendants received the last block of shares meant to vest after the stock exceeded a 30-day

average of $60. Just a few weeks before, the Individual Defendants caused comScore to report

results for its second quarter in which revenue purportedly rose 14%.            On this news, the

Company’s stock hit a record $64.64 on August 17, 2015, clearing the bar—based on the

Individual Defendants’ own average share price calculation—for the Insider Selling Defendants’

grants to vest.

        8.        After the Insider Selling Defendants unloaded their stocks, and seemingly out of

nowhere, on March 7, 2016, the Individual Defendants caused the Company to announce that it

would be unable to submit its annual securities filing because its Audit Committee and

independent counsel were conducting an internal review of its accounting.

        9.        Then, on May 11, 2016, the Individual Defendants caused the Company to

announce that it would not be able to submit its quarterly filing. Just over a month later, on June

27, 2016, the Individual Defendants caused comScore to miss its own deadline to provide

investors with an update on the investigation.



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       10.    By August 10, 2016, the Individual Defendants named a new management team.

Defendant Matta, who was replaced as CEO with co-founder Defendant Gian Fulgoni

(“Fulgoni”), was named executive vice chairman and adviser to Defendant Fulgoni, following

the stepping-down of Defendant Magid Abraham (“Abraham”) as executive chairman.

       11.    Further, the Individual Defendants caused the Company to announce that the

Audit Committee’s investigation was “substantially complete,” and that comScore’s Audit

Committee had identified “certain areas of potential concern, including with respect to certain

accounting and disclosure practices and controls that the company…is further analyzing.”

       12.    Then, on September 15, 2016—unable to continue to ignore the issues, yet

refusing to fully detail the extent of the misconduct—the Individual Defendants caused the

Company to file with the SEC an announcement blaming “errors in judgment” for improperly

accounting revenue over the years. Accordingly, defendants caused the Company to announce

its need to restate its financial results for 2013, 2014, and 2015. The anticipated changes

required the Individual Defendants to reduce the Company’s reported revenues by a total of

$48.5 million. More specifically, rather than the 12.1% growth implied by the Company’s

previously reported figures, comScore’s revenue in 2015 only grew 8.6%. Similarly, for 2014,

the old and new figures were 14.7% and 10.3%, respectively.

       13.    For comScore in particular, downgrading revenue was material. The Individual

Defendants often emphasized the importance of comScore’s reported revenues and EBITDA in

its filings with the SEC during the Relevant Period. For example, in its Form 14A Annual Proxy

filed with the SEC on June 8, 2015, the Individual Defendants caused comScore to describe

revenue and adjusted EBITDA as the “key financial measures by which our stockholders

evaluate our progress.” (Emphasis added). Thus, the Individual Defendants wanted analysts and



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investors to consider revenue one of the most important metrics to evaluate the Company. In

turn, and because the Company had not reported an annual profit for years, the market rewarded

comScore’s purported growth evidenced best by the Company’s increasing stock price.

Unsurprisingly, the news that reported revenues were to be reduced by tens of millions of dollars

shocked the market.

       14.     In addition, according to the September 15, 2016 release, the Board’s

investigation concluded that revenue and expenses for the nonmonetary agreements involving

swapping data with other companies should not have been recognized. Moreover, the Audit

Committee “concluded that these transactions have been recorded in error” in comScore’s

accounting practices.    The Audit Committee blamed “internal control deficiencies,” and

acknowledged that potentially material, accounting adjustments may be necessary if these

deficiencies extended to transactions beyond the scope of the investigation.

       15.     The media took note. On September 16, 2016, for example, The Wall Street

Journal (“WSJ”) published an article entitled, “Growth and Trust Are Scarce at ComScore,”

which reported how the Board, “though they may not have orchestrated the nonmonetary

revenue scheme, should have been aware of it and its effect on compensation.”

       16.     Then, on November 23, 2016, the Individual Defendants caused comScore to file

a report with the SEC announcing the conclusion of the Audit Committee’s investigation, which

purportedly uncovered that certain monetary transactions and contracts were not properly

accounted for, and that “as a result of that review, there may be additional accounting

adjustments and such adjustments may be material.” The Individual Defendants also caused the

Company to announce the resignation of two of its directors, including then-Chair Defendant

Joan Lewis (“Lewis”) and Defendant Patricia Gottesman (“Gottesman”).



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       17.     By February 6, 2017, the Individual Defendants caused the Company to update

the market on the Company’s inability to meet a February 23, 2017 deadline, set by NASDAQ’s

Hearings Panel, for comScore to regain compliance with its reporting requirements. On this

news, comScore’s stock nosedived 21.9%.

       18.     The WSJ published an article soon thereafter suggesting that the Company’s

inability to meet a deadline for overdue financial disclosures “suggests problems run deeper than

previously thought.” In relevant part, the WSJ reported:

       For a company entrusted with providing accurate data on internet audiences,
       comScore is having a remarkably difficult time accurately measuring itself.

       The firm said Monday it faced possible delisting from Nasdaq because it couldn’t
       file its overdue financial disclosures in time. ComScore said Sept. 15 it would
       restate financial results from 2013, 2014, 2015 after an internal investigation
       discovered problems with its accounting.

       The Company also hasn’t submitted it annual securities filing for 2015 or any of
       its quarterly filings for 2016. Nasdaq had given it until Feb. 23 to complete the
       restatements. ComScore shares were down about 25% at midday.

                                        *       *      *

       The additional delay in filing the restatements suggests the problems run deeper
       than previously thought and may lead wary customers to look elsewhere for
       measurement data.

(Emphasis added).

       19.     By February 10, 2017, comScore shares were delisted from NASDAQ and moved

to over-the-counter trading.

       20.     Accordingly, as a result of the Individual Defendants’ misconduct, as set forth

herein, the Company has been damaged, giving rise to Plaintiff’s reasonable suspicion that one

or more Company fiduciaries breached their duties owed to the Company and/or engaged in

other violations of law.



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       21.     ComScore’s Board currently consists of seven (7) directors, all of whom cannot

consider a demand to commence litigation against themselves on behalf of the Company without

the requisite level of disinterestedness and independence. Accordingly, issuing a demand on the

present Board to institute this action would be a futile, wasteful and useless act.

       22.     Thus, this shareholder derivative action should be allowed to proceed.

                                 JURISDICTION AND VENUE

       23.     The claims asserted herein arise under §§10(b) and 20(a) of the Exchange Act,

(15 U.S.C. §§78j(b) and 78t(a)), and SEC Rule 10b-5 (17 C.F.R. §240.10b-5), promulgated

thereunder, and under state law for breaches of fiduciary duties and unjust enrichment. In

connection with the acts, conduct and other wrongs complained of herein, the Individual

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

the United States mail and the facilities of a national securities market.

       24.     This Court has subject matter jurisdiction pursuant to §27 of the Exchange Act

(15 U.S.C. §78aa), as well as 28 U.S.C. §1331. This Court also has supplemental jurisdiction

over the state law claims asserted herein pursuant to 28 U.S.C. §1367.

       25.     This action is not a collusive one to confer jurisdiction on a court of the United

States which it would not otherwise have.

       26.     Venue is proper in this District pursuant to §27 of the Exchange Act (15 U.S.C.

§78aa), as well as 28 U.S.C. §1391(b).          Many of the acts alleged herein, including the

preparation and dissemination of materially false and misleading information, occurred in

substantial part in this District.   The Company, as nominal defendant, and certain of the

Individual Defendants also conduct business in this District. The Company maintains significant

operations in New York City at both its 7 Penn Plaza and its 352 Park Avenue South locations.

Prior to being delisted for failing to meet reporting requirements, the Company’s common stock
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was listed and traded on the NASDAQ, which is located in this District and the Individual

Defendants conducted various investor conferences in New York City to communicate with

comScore investors during the Relevant Period.

                                         PARTIES

       27.    Plaintiff is a current shareholder of comScore and has continuously held

comScore common stock since 2007.

       28.    Nominal party comScore is a Delaware corporation that came to market through

an initial public offering in 2007. Since then, comScore completed targeted acquisitions of

several businesses with complimentary research and analytics capabilities and established

presences in Europe and Latin America so as to expand the Company’s global footprint.

       29.    Defendant Fulgoni co-founded comScore in 1999, has served on its Board since

its founding, and has served as the Company’s CEO since September 2016. Before serving as

CEO, Defendant Fulgoni served as Executive Chairman of the Board from 1999 until March

2014, and as Chairman Emeritus from March 2014 until August 2016. comScore’s 2015 Annual

Proxy statement to shareholders concedes that Defendant Fulgoni lacked independence from the

other Board members due to his positions at the Company and his relationships with its

management.    Moreover, Defendant Fulgoni serves as a director of Dynamic Signal, Inc.

(“Dynamic Signal”), a social media marketing technology company for which Defendant Fradin

(defined below) serves as chairman of the board of directors and CEO. Defendant Fulgoni also

sits on the board of Petmed Express, Inc. (“Petmed”) with Defendant Korn (defined below), both

of whom sit on the audit, compensation and corporate governance committees together. Finally,

during the Relevant Period, while in possession of material nonpublic inside information about




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comScore, and while the Company’s securities traded at artificially inflated prices, Defendant

Fulgoni sold $6.2 million of his personally-held comScore stock.

       30.    Defendant Bill Livek (“Livek”) has served as a member of the Board since

comScore acquired Rentrak in February 2016, and has served as the Executive Vice Chairman

and President of comScore since August 2016. Critically, while Defendant Livek served as a

director of Rentrak and as Rentrak’s CEO prior to comScore’s acquisition by Rentrak, the then-

serving Rentrak board conceded that he lacked independence from the other Rentrak board

members.

       31.    Defendant Matta served as comScore’s CEO from March 1, 2014 until August 5,

2016, after joining the Company in 2000.         Defendant Matta ended his employment with

comScore on October 10, 2016 and resigned from the Board on December 15, 2016. During the

Relevant Period, while in possession of material non-public information about comScore, and

while the Company’s securities traded at artificially inflated prices, Defendant Matta sold $10.6

million of his personally-held comScore stock.

       32.    Defendant Abraham co-founded comScore in 1999 and was, from the Company’s

inception until March 1, 2014, comScore’s CEO, and, from March 1, 2014 until July 21, 2016,

the Executive Chairman of the Board. On December 5, 2016, the Company announced that

Defendant Abraham resigned from the Board effective immediately.           During the Relevant

Period, while in possession of material non-public information about comScore, and while the

Company’s securities traded at artificially inflated prices, Defendant Abraham sold $29.9 million

of his personally-held comScore stock.




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         33.    Defendant David I. Chemerow (“Chemerow”) has served as comScore’s CFO

since August 5, 2016.      Previously, prior to comScore’s acquisition of Rentrak, Defendant

Chemerow served as Rentrak’s Chief Operating Officer, CFO, and Secretary.

         34.    Defendant Wesley served, from August 29, 2014 until August 5, 2016, as

comScore’s CFO. On October 10, 2016, Defendant Wesley formally ended his relationship with

the Company. During the Relevant Period, while in possession of material non-public

information about comScore, and while the Company’s securities traded at artificially inflated

prices, Defendant Wesley sold $6.2 million of his personally-held comScore stock.

         35.    Defendant Kenneth J. Tarpey (“Tarpey”) served, from April 20, 2009 until

August 5, 2014, as comScore’s CFO. During the Relevant Period, while in possession of

material non-public information about comScore, and while the Company’s securities traded at

artificially inflated prices, Defendant Tarpey sold $1 million of his personally-held comScore

stock.

         36.    Defendant William E. Engel (“Engel”) has served as a director since February

2016, joining the Board following comScore’s acquisition of Rentrak where Defendant Engel

had previously served in a directorship role.

         37.    Defendant Russel Fradin (“Fradin”) has served as a director of comScore since

July 2014.     Previously, Defendant Fradin served as comScore’s Executive Vice President,

Corporate Development from June 2000 to June 2004. As previously mentioned, Defendant

Fradin serves as the Chairman of the Board and as CEO of Dynamic Signal, where Defendant

Fulgoni serves on the board. As a member of the Company’s Compensation Committee during

2014-2016, Defendant Fradin controlled the executive compensation of the then-present Officer

Defendants.



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       38.    Defendant William J. Henderson (“Henderson”), who served as a member of the

Board, Chair of its Compensation Committee and its Lead Independent Director throughout the

Relevant Period, was recently named the Chairman of the Board on November 18, 2016.

Concurrently, Defendant Henderson serves on the board of directors of Acxiom, an enterprise

data, analytics and software-as-a-service company, and has since June 2001. As a member of the

Acxiom board, Defendant Henderson serves as chairman of the compensation committee and as

a member of its corporate governance committee. As a member of comScore’s Compensation

Committee, Defendant Henderson controlled the other Defendants’ executive compensation. As

a member of the Audit Committee, Defendant Henderson caused or allowed the dissemination of

the improper public statements described herein.       During the Relevant Period, while in

possession of material non-public information about comScore, and while the Company’s

securities traded at artificially inflated prices, Defendant Henderson sold $1.4 million of his

personally-held comScore stock.

       39.    Defendant Ronald J. Korn (“Korn”) is a director of comScore. He also sits on the

Petmed board of directors with Defendant Fulgoni.       Together, they both sit on the audit,

compensation and corporate governance committees.         As a member of comScore’s Audit

Committee in 2013 and 2015, and as Chair in 2016, Defendant Korn caused or allowed the

dissemination of the improper public statements described herein. During the Relevant Period,

while in possession of material non-public information about comScore, and while the

Company’s securities traded at artificially inflated prices, Defendant Korn sold $205,800 of his

personally-held comScore stock.

       40.    Defendant Brent D. Rosenthal (“Rosenthal”) has served as a director of comScore

since February 2016 when comScore acquired Rentrak where Defendant Rosenthal had served as



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a director. As a member of the Audit Committee during 2016, Defendant Rosenthal caused or

allowed the dissemination of the improper public statements described herein.

       41.     Defendant Jeffrey Ganek (“Ganek”) served as a director of comScore between

2008 and 2014. As a member of the Audit Committee during 2013-2014, Defendant Ganek

caused or allowed the dissemination of the improper public statements described herein.

       42.     Defendant William Katz (“Katz”) served as a director of comScore during the

Relevant Period until he resigned in September 2016. As a member of the Compensation

Committee, Defendant Katz controlled the executive compensation of the then-serving Officer

Defendants.

       43.     Defendant Lewis served as a director of comScore between January 2015 and

November 2016. Defendant Lewis also served as the Chairman of the Board between July 2016

and November 2016. As a member of the Audit Committee during 2015-2016, Defendant Lewis

caused or allowed the dissemination of the improper public statements described herein.

       44.     Defendant Gottesman served as a director of comScore between February 2016,

following comScore’s acquisition of Rentrak, and her resignation in November 2016. Previously

Defendant Gottesman had served as a director of Rentrak.

       45.     Collectively, Defendants Fulgoni, Livek, Matta, Abraham, Chemerow, Wesley,

Tarpey, Henderson, Engel, Fradin, Korn, Rosenthal, Ganek, Katz, Lewis, and Gottesman are

referred to herein as the “Individual Defendants.”

       46.     Collectively, Defendants Fulgoni, Livek, Engel, Fradin, Henderson, Korn, and

Rosenthal are referred to herein as the “Director Defendants.”

       47.     Collectively, Defendants Fulgoni, Livek, Matta, Abraham, Chemerow, Wesley

and Tarpey are referred to herein as the “Officer Defendants.”



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       48.     Collectively, Defendants Fulgoni, Matta, Abraham, Wesley, Tarpey, Henderson,

and Korn are referred to herein as the “Insider Selling Defendants.”

                         THE INDIVIDUAL DEFENDANTS’ DUTIES

       49.     By reason of their positions as officers, directors, and/or fiduciaries of ComScore,

and because of their ability to control the business and corporate affairs of ComScore, the

Individual Defendants owed comScore and its shareholders fiduciary obligations of good faith,

loyalty, and candor, and were and are required to use their utmost ability to control and manage

comScore in a fair, just, honest, and equitable manner.

       50.     Further, the Individual Defendants were and are required to act in furtherance of

the best interests of comScore and its shareholders so as to benefit all shareholders equally, and

not in furtherance of their personal interest and benefit.        Each director and officer of the

Company owes to comScore and its shareholders the fiduciary duty to exercise good faith and

due diligence in the administration of the affairs of the Company, and in the use and preservation

of its property and assets, as well as the highest obligation of fair dealing.

       51.     Because of their positions of control and authority as directors and/or officers of

comScore, having knowledge of material non-public information regarding the Company, the

Individual Defendants were able to and did, directly and/or indirectly, exercise control over the

wrongful acts complained of herein. To discharge their duties, the officers and directors of

comScore were required to exercise reasonable and prudent supervision over the management,

policies, practices and controls of the Company. By virtue of such duties the officers and

directors of comScore were required to, among other things:

               a.      Exercise good faith to ensure that the affairs of the Company were
                       conducted in an efficient, business-like manner so as to make it
                       possible to provide the highest quality performance of their
                       business;


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              b.      Exercise good faith to ensure that the Company was operated in a
                      diligent, honest and prudent manner, and complied with all
                      applicable federal and state laws, rules, regulations and
                      requirements, and all contractual obligations, including acting only
                      within the scope of its legal authority and disseminating truthful
                      and accurate statements to the investing public;

              c.      Properly and accurately guide investors and analysts as to the true
                      financial condition of the Company at any given time, including
                      making accurate statements about the Company’s financial results;
                      and

              d.      When put on notice of problems with the Company’s business
                      practices and operations, exercise good faith in taking appropriate
                      action to correct the misconduct and prevent its recurrence.

       52.    Pursuant to the Audit Committee’s Charter, all members of the Audit Committee

throughout the Relevant Period, including Defendants Korn, Henderson and Rosenthal, were

responsible for, among other things:

       Oversee[ing] the accounting and financial reporting processes of the Company
       and audits of the financial statements of the Company; [and]

       Assist[ing] the Board in oversight and monitoring of (i) the integrity of the
       Company’s financial statements; (ii) the Company’s compliance with legal and
       regulatory requirements; (iii) the independent auditor’s qualifications,
       independence and performance; (iv) the Company’s internal accounting and
       financial contract; and (v) the performance of the Company’s internal audit
       function.

(Emphasis added).

       53.    Moreover, each member of the Audit Committee was also responsible for:

       Reviewing on a continuing basis the adequacy of the Company’s system of
       internal controls, including meeting periodically with the Company’s
       management and the independent auditors to review the adequacy of such
       controls and to review before release the disclosure regarding such system of
       internal controls required under SEC rules to be contained in the Company’s
       periodic filings…;

                                        *      *       *



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      Reviewing and discussing with management and the independent auditors the
      annual audited financial statements and quarterly unaudited financial statements,
      including the company’s disclosures under “Management’s Discussion and
      Analysis of Financial Condition and Results of Operations,” prior to filing the
      Company’s Annual Report on Form 10-K and Quarterly Reports on Form 10-Q,
      respectively, with the SEC;

                                      *      *       *

      Reviewing, before release the unaudited quarterly operating results in the
      Company’s quarterly earnings release; [and]

                                      *      *       *

      Reviewing, approving and monitoring the Company’s code of ethics for its senior
      financial officers.

(Emphasis added).

      54.    Similarly, each member of the Board’s Compensation Committee throughout the

Relevant Period, including Defendants Henderson and Fradin, were and are responsible for

discharging the Board’s responsibilities relating to oversight of the compensation of the

Company’s CEO and other executive officers.       The Compensation Committee has overall

responsibility for approving and evaluating the executive officer and non-executive level

employee compensation plans, policies and programs of the Company and for administering the

Company’s equity compensation plans. (Emphasis added). Further:

      Unless otherwise determined by a majority of the independent directors of the
      Board meeting in executive session, the Compensation Committee reviews and
      recommends to the Board specific objectives of the Company's compensation
      plans, policies and programs and annually reviews and approves all
      compensation and benefit plans for the Chief Executive Officer ("CEO") and
      the other executive officers of the Company including, without limitation, (a)
      the annual base salary, (b) the annual incentive bonus, including the specific
      goals and amount, (c) equity compensation, (d) employment agreements,
      severance arrangements, and change in control agreements/ provisions and (e) any
      other benefits, compensation, perquisites or arrangements, in light of those
      specific objectives. Equity compensation arrangements involving executive
      officers that are "reporting persons" for purposes of Section 16 of the Exchange
      Act shall be reviewed and approved by the Compensation Committee to ensure

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       compliance with SEC Rule 16b-3. In determining the compensation and benefits
       of the CEO, the CEO may not be present during deliberations or voting on such
       matters.

(Emphasis added).

       55.    The Board has also adopted a Code of Business Conduct and Ethics (the “Ethics

Code”) that must be acknowledged and adhered to by every employee, including officers,

directors and all employees of subsidiaries worldwide, agent or contractor. Among the many

requirements, the Ethics Code expressly states:

       COMPLIANCE WITH THE LAW

       You are required for complying with all laws, rules, regulations and regulatory
       orders applicable to the conduct of our business.

                                        *         *    *

       PUBLIC COMMUNICATIONS

       Depending upon your position with the company, you may be called upon to
       provide information to help assure that the company's public reports and
       communications are complete, fair, accurate and understandable. You are
       expected to use all reasonable efforts to provide complete, accurate, objective,
       relevant, timely and understandable answers to inquiries related to the company's
       public disclosures. Individuals involved in the preparation of public reports and
       communications must use all reasonable efforts to comply with our disclosure
       controls and procedures, which are designed to ensure full, fair, accurate, timely
       and understandable disclosure in our public reports and communications.

       If you believe that any disclosure is materially misleading or if you become
       aware of any material information that you believe should be disclosed to the
       public, it is your responsibility to bring this information to the attention of the
       Company’s General Counsel[.] If you believe that questionable accounting or
       auditing conduct or practices have occurred or are occurring, you should notify
       the Audit Committee of the Board of Directors.

                                        *         *    *

       FINANCIAL REPORTING

       As a public company, we are required to follow strict accounting principles and
       standards, to report financial information accurately and completely in

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       accordance with these principles and standards, and to have appropriate
       internal controls and procedures to ensure that our accounting and financial
       reporting complies with law. The integrity of our financial transactions and
       records is critical to the operation of our business and is a key factor in
       maintaining the confidence and trust of our employees, security holders and other
       stakeholders.

                                        *       *      *

       It is important that those who rely on records and reports—managers and other
       decision makers, creditors, customers and auditors—have complete, accurate and
       timely information. False, misleading or incomplete information undermines
       the company's ability to make good decisions about resources, employees and
       programs and may, in some cases, result in violations of law. Anyone involved
       in preparing financial or accounting records or reports, including financial
       statements and schedules, must be diligent in assuring that those records and
       reports are complete, accurate and timely. Anyone representing or certifying as
       to the accuracy of such records and reports should make an inquiry or review
       adequate to establish a good faith belief in their accuracy.

                                        *       *      *

       You may not intentionally misrepresent the company's financial performance
       or otherwise intentionally compromise the integrity of the company's reports,
       records, policies and procedures.

(Emphasis added).

                              SUBSTANTIVE ALLEGATIONS

       A.      Company Background

       56.     According to its public filings, comScore provides trusted, independent data,

metrics, products and services to clients in the media, advertising, and marketing industries. The

Company’s digital media analytics helps content owners and advertisers understand—and thus

properly value—the composition of consumer media audiences, and helps marketers understand

the performance and effectiveness of advertising targeted at these audiences.




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       57.       ComScore was founded in July 1999 by Defendants Fulgoni and Abraham.

Following its founding, comScore grew through acquisitions, acquiring several large customer

bases helping to accelerate the growth of comScore’s syndicated measurement service.

       58.       The Company eventually went public in 2007, listing its shares on the NASDAQ.

       59.       On February 11, 2014, comScore announced the appointment of Defendant Matta

as its CEO, and on August 5, 2014 it announced the appointment of Defendant Wesley as its

CFO.

       60.       In September 2015, comScore announced that it would acquire Rentrak, a global

media measurement and research company serving the entertainment industry (the “Rentrak

Acquisition”).    The Individual Defendants touted the benefits of the Rentrak Acquisition,

drawing particular attention to the value of combining comScore’s digital media measurement

capabilities with Rentrak’s television measurement capabilities to create an even more massive

cross-platform media measurement firm. Reportedly, the goal was to challenge Nielsen Holding

PLC. Under the terms of the Rentrak Acquisition, which closed on February 1, 2016, comScore

acquired Rentrak in an all-stock deal valued at approximately $732 million and Rentrak

shareholders received 1.15 shares of comScore for each share of Rentrak owned.

       61.       According to a complaint filed in a case pending in the Circuit Court of the State

of Oregon, captioned In re Rentrak Corp. Shareholder Litigation, 15-cv-27429, Rentrak retained

Grant Thornton LLP (“Grant Thornton”) to perform financial due diligence on comScore in

connection with conducting its due diligence as part of the Rentrak Acquisition. According to

the complaint in that case, Grant Thornton provided Rentrak’s board of directors, which then

included Defendants Livek, Engel and Rosenthal, a report dated September 4, 2015 that raised

several red flags regarding comScore’s recognition of nonmonetary revenue. Among Grant



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Thornton’s key findings, particularly relevant here, were its concerns that comScore’s use of

nonmonetary transactions for the sharing of data or exchanging of services, which had been

accounted for as revenue, “may have provided opportunities for [comScore] Management to

‘manage’ revenues to meet targets[,]” and/or “may not be fully understood by research analysts

and [investors.]” In addition, Grant Thornton questioned just “how much [the Company’s] stock

price may be impacted if [these] non-monetary arrangements are better understood[,]” and

whether, or to what degree, “analysts have incorporated [the nonmonetary arrangements] in their

forecasts and [how much they] understand the arrangement’s impact on revenue and earnings.”

       B.     The Individual Defendants Issued False and Misleading Statements About
              the Company’s Financial Performance, Causing comScore’s Stock to Trade
              at Artificially Inflated Prices

       62.    Starting at least in 2013, the Individual Defendants undertook an effort to

artificially pump up the Company’s reported revenues by including not only cash revenue from

paying customers, but also revenue purportedly linked to nonmonetary transactions. These

nonmonetary transactions related to data-sharing agreements where comScore would swap data

without exchanging any significant cash or other payment with counterparties who, in turn,

booked no revenue from these data exchange deals. Nevertheless, the Individual Defendants

caused comScore to book tens of millions of dollars in revenue based on their own “fair value”

determination of the nonmonetary transactions.

       63.    Supposedly, according to the Company’s filings with the SEC during the Relevant

Period, this “fair value” determination was in compliance with GAAP section ASC 845, which

governs revenue recognition when an issuer does not receive a payment of cash or other

monetary assets or liabilities for goods or services. Specifically, the Individual Defendants

caused the Company to assure the SEC and the market that:


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       The Company accounts for nonmonetary transactions under ASC 845,
       Nonmonetary Transactions.          Nonmonetary transactions with commercial
       substance are recorded at the estimated fair value of assets surrendered including
       cash, if cash is less than 25% of the fair value of the overall exchange, unless the
       fair value of the assets received is more clearly evident, in which case the fair
       value of the asset received is used.

       64.     The Individual Defendants’ decision to quantify nonmonetary transactions at their

purported “fair value,” and include them in the Company’s reported revenue, caused comScore

to appear financially strong. It also enabled the Individual Defendants to hang the Company’s

growth—albeit fictitious—to a key, reportable metric, which, in turn, could be and was used to

report “record” performance quarter after quarter. In fact, in each of comScore’s press releases

announcing its financial results during the Relevant Period, the very first metrics mentioned were

the Company’s revenue, revenue growth, EBITDA, and EBITDA growth, followed by an

announcement that comScore’s revenue for the particular period was a new “record.” Similarly,

Defendants Abraham, Tarpey, Matta and Wesley spoke about the Company’s revenue and

revenue growth on each investor conference call held during the Relevant Period.

       65.     Noticeably, during the Relevant Period, the Individual Defendants rarely, if at all,

separated comScore’s nonmonetary revenue from its monetary revenue in Company press

releases or during discussions with analysts or investors on the Company’s investor conference

calls. Instead, the Individual Defendants discussed revenue and revenue growth as a whole.

This, however, was not the case in the Company’s SEC filings, which stated as follows:

               •   FY December 31, 2013: “Record” revenue equaled $286.9 million, which
                   was comprised of $3.2 million in nonmonetary revenue;

               •   January 31, 2014: “Record” revenue equaled $76.9 million, which was
                   comprised of $2.2 million in nonmonetary revenue;

               •   June 30, 2014: “Record” revenue equaled $80.0 million, which was
                   comprised of $1.8 million in nonmonetary revenue;


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                •   September 30, 2014: “Record” revenue equaled $82.1 million, which was
                    comprised of $4.6 million in nonmonetary revenue;

                •   3 Months December 31, 2014: “Record” revenue equaled $90.1 million,
                    which was comprised of $7.7 million in nonmonetary revenue;

                •   FY December 31, 2014: “Record” revenue equaled $329.1 million, which
                    was comprised of $16.3 million in nonmonetary revenue;

                •   January 31, 2015: “Record” revenue equaled $87.3 million, which was
                    comprised of $3.8 million in nonmonetary revenue; and

                •   June 30, 2015: “Record” revenue equaled $91.4 million, which was
                    comprised of $10.8 million in nonmonetary revenue.

        66.     Analysts absorbed this information, viewing the Company’s current and

prospective growth positively. In a March 20, 2014 report, for example, Brean Capital LLC

(“Brean Capital”) noted that “[comScore’s] revenue model is relatively predictable” and that the

Company should be able to achieve “mid-teens revenue growth.” Moreover, on December 1,

2014, SunTrust Robinson Humphrey (“SunTrust”) labeled comScore a “buy,” noting, in

particular, that:

        The [C]ompany is on the front-end of a multi-year multi-product cycle that should
        (at least through 2016) drive strong top-line [i.e., revenue] growth (~16%) and
        margin expansion (EBITDA growth ~20%) with bottom-line further supported by
        buybacks….

        67.     Similarly, on January 28, 2015, Wedbush Securities (“Wedbush”) rated comScore

“outperform,” stating that “we believe comScore is an attractive investment opportunity … [w]e

view comScore as a base-line mid-teens revenue grower (~16% for 2015/16) with faster

EBITDA growth….” And, on August 4, 2015, an analyst from Cantor Fitzgerald noted that

comScore’s “continued strength in subscription revenue growth, [and] improving margins” were

keeping “us positive on the name.”




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          68.   Then, on August 31, 2015, the Wall Street Journal published an article entitled,

“Is comScore’s Revenue Growth as Good as it Seems?” (the “August 31 WSJ Article”). The

article questioned “what is driving [comScore’s] growth” and noted, in particular, that a

significant amount of comScore’s revenue consisted of revenue derived from nonmonetary

transactions, stating in relevant part, “comScore reported second quarter revenue of $91.4

million on Aug. 4, up 14% from a year earlier. A note within its quarterly filing explained,

though, that $10.8 million was ‘nonmonetary’ revenue.”

          69.   As the WSJ aptly noted, the Company’s “nonmonetary revenue has ramped up

significantly over the past 12 months. It accounted for about 8% of comScore’s total revenue

over the period, versus only 2% in the previous 12 months. ComScore’s stock, meanwhile,

reached a 52-week high earlier this month, closing at $64.64 on Aug. 17.” The article also noted

that “the [nonmonetary revenue] gains are based on estimates of the assets’ fair value; that is

subjective by nature and has been open to question in the past in other industries….” (Emphasis

added).

          70.   According to the August 31 WSJ Article, moreover, if this nonmonetary revenue

had been excluded from comScore’s income statement, comScore’s revenue growth would have

been significantly less quarter over quarter and year over year, as shown in the graph below:




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       71.    The August 31 WSJ Article continued: “comScore determined how much revenue

to book based on the average historical cash sales of the same product. That seems like an

appropriate approach to fair-valuing the asset, but investors don’t know much beyond that about

the [C]ompany’s method.” Noting that “much of the [C]ompany’s reported top-line growth has

come from revenue that brings no cash in the door,” the WSJ concluded by advising “[i]nvestors

cheering comScore’s top-line growth [to] take closer note of where it is coming from.”

       72.    The Individual Defendants were quick to respond to the August 31 WSJ Article,

assuring the market, which had reacted negatively to the story and caused comScore’s stock to

drop approximately 15% by September 2, 2015, that the Company was properly accounting for

its nonmonetary revenue. They also arranged meetings with key analysts covering the Company,

including Brean Capital and Cantor Fitzgerald.

       73.    In a September 3, 2015 report, Brean Capital acknowledged meeting with the

Company to discuss its nonmonetary revenue, and, subsequently, reiterated its “buy” rating and

$67 price target. According to Brean Capital, management stated that it expected the level of

revenue recognition to fall in 2016, which would weigh modestly on overall reported revenue

growth, but that comScore would still meet its expected margin expansion.

       74.    Similarly, in a September 24, 2015 report, Cantor Fitzgerald wrote that “[w]hile

we’re not big fans of barter transactions, we believe management has adequately addressed the

logic behind pursuing them and their benefits to the business….We remain positive on

[comScore] and maintain our BUY rating and $64 [target price].”

       75.    On September 3, 2015, Defendants Matta and Wesley also participated in a

conversation with institutional investors.       During that call, following a suggestion that

comScore’s accounting for nonmonetary transactions could possibly “overstate your revenue and



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understate your expenses,” Defendants Wesley and Matta insisted that the nonmonetary revenue

was not overstated, was based on comparable cash sales, complied with GAAP, and that

comScore followed the accounting rules explicitly. Defendants Wesley and Matta stated in

relevant part:

       [Defendant Wesley:] Well, no. I think. No. I’m not sure how you are arriving at
       the fact that it over states your revenue. If we believe that we’re basically getting
       more value because again, remember, the value is based on our historic sales.
       The value that we record in revenue is consistent with our historic sales for the
       same products.

       [Defendant Matta:] Let’s just be very clear, the revenue that we are taking on
       here is based on revenues that we have sold before of similar transaction for
       cash. The revenue is calculated based on fair value. It is fully audited by our
       accounting firm E&Y, and it follows GAAP revenue. It is 100% GAAP revenue.
       It is audited by E&Y….[A]gain, if there is something that we have provided in
       these transactions that we have not ever sold for cash previously, we would not be
       able to take any revenue for that. So the guidelines are very, very strict and we
       follow them to the “t.”

(Emphasis added).

       76.       Nonetheless, Defendant Matta promised that the Company would avoid doing

future barter deals and would improve its disclosures concerning the ones it had already

recorded, stating that “the bottom line is on a going forward basis, we are going to work to avoid

these transactions wherever possible….”

       77.       In response to Defendants Wesley and Matta’s false reassurances, analysts

remained positive about comScore, recasting the Individual Defendants’ assertions that

comScore’s accounting complied with GAAP.             In effect, they halted the slide of comScore’s

stock price and laid the groundwork for the Individual Defendants to once again claim “record”

revenues in the Company’s subsequent filings.

       78.       Having assuaged the market’s concerns, at least for the time being, the Individual

Defendants caused the Company to report on:

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               •   September 30, 2015: “Record” revenue of $92.4 million, which was
                   comprised of $9.1 million in nonmonetary revenue;

               •   3 Months December 31, 2015: “Record” revenue of $97.7 million, however
                   the Company did not disclose how much of it was comprised of nonmonetary
                   revenue; and

               •   FY December 31, 2015: “Record” revenue of $368.8 million, but again the
                   Company did not disclose how much of it was comprised of nonmonetary
                   revenue.

       79.      Throughout the Relevant Period, and generally speaking, the market reacted

positively to comScore’s purported “record” revenue and EBITDA results. As the table below

illustrates, but for Q2 2014, the market drove up the Company’s stock price higher after each

announcement:

                Period Reported “Record” Revenue Stock Price Increase
               FY 2013       $286.9 million              5%
               Q1 2014        $76.9 million             10%
               Q2 2014        $80.0 million              0%
               Q3 2014        $82.1 million              7%
               FY 2014       $329.1 million             25%
               Q1 2015        $87.3 million             15%
               Q2 2015        $91.4 million             14%
               Q3 2015        $92.4 million              5%
               FY 2015       $368.8 million              5%

       80.     By August 2015, comScore’s stock price had nearly doubled from the Relevant

Period starting price of $30.97 per share, reaching a Relevant Period high of over $64 per share.

       81.     As it would turn out, however, these “record” revenues, as described herein and as

disclosed finally by the Company in the fall of 2016, were predicated on miscalculated “fair

values” for its nonmonetary transactions and, in other instances, errors associated with certain of

the Company’s monetary transactions. To remedy these issues, the Company ultimately revealed

the need to restate numerous financial filings.



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       C.      As comScore’s Share Price Climbed in Response to its Reported—Albeit
               False—“Record” Revenue and EBITDA, Defendants Matta And Wesley
               Profited Handsomely From Their Unique Compensation Packages

       82.     On November 7, 2014, under the direction of Defendant Henderson in his role as

chair of comScore’s Compensation Committee, the Company granted Defendants Matta and

Wesley awards of stock options and restricted stock units that could be exercised or vested if the

average daily closing price of the Company’s common stock during any 30 consecutive

calendar-day period exceeded the following predetermined price targets: $48.00, $50.00, $55.00

or $60.00. Importantly, when the awards were granted, the Company’s stock was trading at

approximately $43 per share.

       83.     By August 2015, all four blocks of shares granted to Defendants Matta and

Wesley qualified for vesting or exercising. As illustrated by the table below, Defendants Matta

and Wesley received shares valued, collectively, at more than $9 million, in a remarkably short

period of time—i.e., less than 6 months:

                    Vested Shares       Value of             Vested Shares       Value of
     Date           Received by         Defendant            Received by         Defendant
Tier
     Vested         Defendant           Matta’s Vested       Defendant           Wesley’s Vested
                    Matta               Shares               Wesley              Shares
$48   3/1/2015      68,401              $3,283,248           15,112              $725,376
$50   3/8/2015      13,686              $684,300             3,148               $157,400
$55   6/6/2015      31,091              $1,710,005           6,927               $380,985
$60   8/23/2015     28,500              $1,710,000           6,297               $377,820
                              Total:    $7,387,553                     Total:    $1,641,581

       84.     During this same time, and while the Company’s shares were already trading at

artificially inflated prices, the Board rolled out a series of aggressive stock-repurchase programs,

which ensured that the Company’s securities would remain high. In the second quarter of 2015,

which ended June 30, 2015, for example, the Individual Defendants caused comScore to spend

$56.2 million of Company money to repurchase more than $1 million shares of Company stock


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from the open market. Similarly, in the third quarter of 2015, which ended September 30, 2015,

comScore spent another $46 million to repurchase another approximately 800,000 Company

shares.

          85.   Spending $102.2 million on these repurchases in just two quarters was highly

unusual. In fact, for the entire fiscal year 2014, comScore had repurchased only $38.4 million

worth of its stock. Moreover, the average price paid for the shares repurchased by comScore in

the second and third quarters of 2015 was $53.77 and $55.78, respectively. Notably, these

figures were just below the price thresholds for triggering the final two tiers of Defendant Matta

and Wesley’s performance-based restricted stock unit compensation packages, and clearly

helped push the share price into the range necessary for them to receive this extra compensation.

          86.   As was also later reported by the WSJ, each of the relevant 30-day periods in

which comScore’s stock reached the required average daily closing price included or closely

followed one of comScore’s earnings reports that reported strong revenue growth, which, in turn,

facilitated the market’s positive reaction, illustrated by comScore’s rising stock price:




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       D.     Rather than Disclose the Truth, to the Detriment of the Company and the
              Market, the Insider Selling Defendants Traded on Material, Non-Public
              Information

       87.    As previously mentioned, at various points during the Relevant Period, the Insider

Selling Defendants—including three current members of the Board—used their knowledge of

the Company’s material, non-public information to sell personal holdings, while comScore’s

stock was artificially inflated following the release of the false and misleading statements the

Individual Defendants caused the Company to issue as described herein.

       88.    As officers and directors of comScore, the Insider Selling Defendants were privy

to material, non-public information about the Company’s true financial health—information that

would, and did, impact investors’ decision-making process with respect to determining the

quality of comScore as an investment.

       89.    While the Company’s stock price was artificially inflated, Defendants Fulgoni,

Matta, Abraham, Wesley, Tarpey, Henderson, and Korn—with knowledge that the Company’s

financial statements, press releases, and investor conference call presentations, among other

public communications were false and misstated—sold more than $78.3 million worth of

Company stock in order to line their pockets at the expense of the Company and unwitting

investors who bought the stock of what they thought was a growing business.

       90.    Defendant Abraham’s insider sales resulted in the largest illegal windfall. After

selling approximately 881,557 shares of his personally held comScore stock, Defendant

Abraham received proceeds in excess of $29.86 million between September 2013 and May 2015.

       91.    The table below summarizes the Insider Selling Defendants’ stock sales during

the Relevant Period. Importantly, each of the Insider Selling Defendants timed their trades to



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maximize profit from the Individual Defendants’ issuance of the false and misleading statements

regarding the Company’s revenue and revenue growth, as alleged herein:

       Insider Seller                Total Shares Unloaded            Total Proceeds Received
    Defendant Abraham                        881,557                        $29,863,956
     Defendant Fulgoni                       796,422                        $29,065,078
      Defendant Matta                        230,647                        $10,584,262
     Defendant Wesley                        119,644                         $6,188,259
    Defendant Henderson                       35,654                         $1,441,920
     Defendant Tarpey                        39,500                          $1,016,970
      Defendant Korn                           4,000                          $205,800
                      Total:                2,107,424                       $78,366,245

       E.      The Truth About the Company’s Reported Revenues Began to Emerge Only
               After the Insider Selling Defendants Cashed-In

       92.     On November 25, 2015, the SEC issued a comment letter to comScore

questioning certain disclosures made in the Company’s annual financial report for fiscal year

2014, representing the period ended December 31, 2014. The SEC first noted that comScore

“state[d] that of $16.3 million in revenue related to non-monetary transactions during 2014,

$10.7 million of that amount [was] attributable to a single related party transaction,” and that the

SEC was “unable to locate disclosure regarding these transactions in [comScore’s] related party

transactions disclosure included in [its] amended 10-K filed on April 24, 2015.”

       93.     Then, the SEC requested that management:

       Tell us what considerations you gave to breaking out the impact of non-monetary
       transactions in your presentation of results of operations for the periods presented.

                                         *       *       *

       We note from your disclosures that you have non-monetary transactions.
       Describe the nature of the date exchanges that are being accounted for as non-
       monetary transactions. Indicate whether these transactions are similar to your
       typical revenues transactions. Consider revising your disclosures to clarify the
       nature of the non-monetary transactions. We refer you to ASC 845-10-50-1.




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       94.     On December 3, 2015, the Individual Defendants caused the Company to respond

to the SEC’s letter. In the Company’s response, specifically with respect to the SEC initial

inquiry regarding related party transaction disclosures, the Individual Defendants revealed that

one of comScore’s directors was affiliated with the counterparty representing the bulk of the

nonmonetary transactions, but, as shown below, refused to publicly disclose the name of that

director, the entity he was affiliated with, or even the specifics concerning the transactions:

       The Company supplementally advises the Staff that such disclosure relates to a
       contract by and between the Company and [****] (the “Customer”). [****] is a
       director of the Company and also a director of the Customer (the “Related
       Person”), which would make him a “related person” under Instruction 1 to Item
       404(a). However, the Related Person did not and is not expected to have a
       material direct or indirect interest in the Company’s transaction with the
       Customer. As of [****], 205, the Related Person beneficially owned only [****]
       shares of the Customer, or [****]% of its outstanding shares. During the fiscal
       year ended March 31, 2015, the Related Person earned $[****] in total
       compensation from the Customer for services as a member of its board of
       directors, all consistent with the disclosed director compensation policies of the
       Customer. The Related Person did not disclose any interest by the Related Person
       in the Customer to the Company, nor is the Company aware of further interest by
       the Related Person in the Customer or the referenced transaction with the
       Customer. Accordingly, the Company respectfully submits that the Related
       Person did not have a direct material interest in the referenced transaction, and in
       reliance upon Instruction 6 to Item 404(a), the Related Person did not have an
       indirect material interest in the referenced transaction since such person’s only
       relationship arose as a director for the Customer and beneficial owner of less
       than10% of the equity interest in the Customer.

       95.      The Individual Defendants also argued to the SEC that the nonmonetary

transactions were too “immaterial” to disclose them prior to the report filed by the Company for

the quarter ended June 30, 2015:

       The Company supplementally advises the Staff that it considered the impact of its
       nonmonetary transactions during the year ended December 31, 2014 and
       concluded that such transactions were immaterial to an understanding of the
       Company’s operations as a whole during the period presented in the discussion
       of Results of Operations presented in the 2014 Form 10-K. The Company
       advises the Staff that the revenue from such transactions represented less than 5%
       of total revenue during the year ended December 31, 2014. Notwithstanding, the

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Company disclosed the overall effect in its Summary of Significant Accounting
Policies in the discussion of its policy regarding nonmonetary transactions. The
Company supplementally advises the Staff that it first began disclosing the
amount of its nonmonetary revenue and associated expenses in the discussion
of its Results of Operations in its Quarterly Report on Form 10-Q for the
quarter ended June 30, 2015. This disclosure was prompted when the
Company’s nonmonetary revenue exceeded 10% of its total revenue for the first
time in a given period and the Company determined such detail may enhance a
reader’s understanding of its results of operations. Accordingly, the Company
increased the prominence of the disclosure. However, the overall details were
generally consistent with prior disclosures since the Company had historically
broken out nonmonetary transactions in the notes to its financial statements and
the summary of significant accounting policies included in its Managements’
Discussion and Analysis of Financial Condition and Results of Operations
section.

The Company will continue to carefully evaluate on a quarterly basis if additional
disclosure regarding the extent and nature of its nonmonetary transactions should
be described in the Results of Operations section or otherwise in its quarterly and
annual reports.

The Company supplementally advises the Staff that all of its nonmonetary
transactions were consistent with its typical forms of transactions with data
source providers for which costs are recognized and customer transactions for
which revenue is recognized. Accordingly, the Company determined that the
disclosure in the Results of Operations regarding trends generally otherwise
captured the material factors contributing to the changes in the Company’s
results of operations for the periods presented in the 2014 Form 10-K.

All of the Company’s nonmonetary transactions were consistent with its typical
forms of transactions with data source providers for which costs are recognized
and customer transactions for which revenue is recognized. As an example, in
these types of nonmonetary transactions, the Company provides subscription
products and solutions that it typically sells on a cash basis to data source
providers in exchange for additional consumer demographics and segmentation
data that improves the accuracy and granularity of the Company’s products and
services, particularly the Company’s panel and census data. The Company
concluded that such transactions were consistent with its accounting policies
and with the terms of similar transactions with other ordinary course
transactions but for the nonmonetary element. Notwithstanding, the Company
intends to provide additional disclosure in its upcoming Annual Report on Form
10-K for the year ended December 31, 2015 consistent with the Staff’s comment
affirmatively clarifying the nature of these transactions and that such transactions


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       were conducted on terms otherwise consistent with its typical types of agreements
       of similar substance.

The letter was signed by comScore’s outside counsel with Defendants Matta and Wesley copied.

       96.     Then, seemingly out of the blue, on February 19, 2016, following yet another

announcement of “record” annual GAAP revenue—this time $368.8 million for fiscal year

2015—the Individual Defendants caused comScore to announce that the Board’s Audit

Committee had initiated an investigation in response to tips concerning possible accounting

problems at the Company. As a result, the Individual Defendants stated that comScore was not

going to be able to timely file its 2015 annual report with the SEC.

       97.     Incredibly, the Individual Defendants delayed filing the 2015 annual report in

March, May, and June of 2016, despite being notified by the NASDAQ in March that it was not

in compliance with its listing agreement and that comScore common stock would be delisted

unless its 2015 annual report was filed within 60 days.

       98.     On July 22, 2016, the Individual Defendants caused the Company to announce not

that it was ready to file its 2015 annual report, but that, immediately and without explanation, co-

founder, Defendant Abraham, was stepping down as Chairman of the Board to “focus on other

things.”

       99.     The Individual Defendants again delayed the Company’s filing of its 2015 Annual

Report in August 2016, this time, however, disclosing that they had hired outside counsel and

auditing professionals to assist the Audit Committee with its investigation. The Individual

Defendants revealed that the Board had identified some misreporting of nonmonetary revenue –

primarily related to data-sharing agreements. Additionally, the Individual Defendants advised

that: (i) the Company’s release of its interim financial statements for the first and second quarter

of 2016 was, likewise, still delayed; (ii) co-founder Defendant Fulgoni was to replace then-CEO,


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Defendant Matta as CEO; (iii) then-Executive Vice Chairman of the Board, Defendant Livek,

would assume responsibilities for the Company’s strategic and day-to-day operations; and (iv)

Defendant Wesley was replaced as CFO by Defendant Chemerow in August 2016.

       100.      Despite ample time to meet NASDAQ’s reporting requirements, the Company

continued to delay filings, and on September 2, 2016, the Individual Defendants announced that

NASDAQ sent a delisting notice, citing comScore’s inability to bring its SEC filings current.

       101.      Then, on September 15, 2016, the Individual Defendants caused the Company to

file a Form 8-K announcing the partial results of the Audit Committee investigation. As it turned

out, all of comSCore’s previously-issued financial statements for fiscal years 2013 and 2014,

along with the first three interim reporting periods of fiscal 2015 and the FY 2015 financial

results, were no longer to be relied upon, requiring all prior financial statements to be restated.

The root cause purportedly was the erroneous recognition of revenue from nonmonetary

transactions that should never have been recognized in violation of GAAP. More specifically, it

was revealed that, in order to correct the “errors” in its accounting for nonmonetary transactions,

the Company would wipe out all of the previously recognized nonmonetary revenue.                 In

relevant part:

       [T]he Company has concluded that revenue and expenses associated with all
       nonmonetary transactions during the periods identified above should be reversed
       and accounted for at historical cost rather than at fair value. There is no
       historical cost basis associated with the assets that the Company exchanged and
       therefore there should be no revenue recognized or expenses incurred for those
       transactions.

(Emphasis added).

       102.      Contrary to their previous assertions, the Individual Defendants admitted that they

lacked a reliable basis to determine the fair value of the assets related to the nonmonetary

transactions because neither the Company nor the counterparties to those transactions had made

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       comparable cash sales previously. Moreover, they admitted that the nonmonetary transactions

       lacked commercial substance because the data comScore acquired was less valuable than they

       had previously represented, and that comScore did not have a historical cost basis for the data it

       delivered to counterparties in the nonmonetary transactions.

              103.    Accordingly, the entire $43 million in nonmonetary revenue the Individual

       Defendants caused the Company to report during the Relevant Period, had been, and always was,

       recognized in complete violation of GAAP.

              104.    These admissions played havoc on the Company’s financials, as demonstrated by

       the table below, and left investors and analysts completely stunned.

                                         REVENUES                       (LOSS) INCOME FROM
     REPORTING                    AS                                    OPERATIONS
                                                                                AS
        PERIOD               PREVIOUSLY            AS ADJUSTED           PREVIOUSLY        AS ADJUSTED
         ENDE 31, 2013
   FY December                REPORTE
                             $286.86 Million      $283.615 Million          REPORTE
                                                                           $3.093 Million   $1.644 Million
   FY December 31, 2014     $329.151 Million        $312.9 Million      ($14.78 Million) ($14.768 Million)
          March 31, 2015     $87.329 Million       $83.532 Million        ($9.19 Million) ($8.816 Million)
           June 30, 2015     $91.414 Million       $80.649 Million      ($2.818 Million)  ($8.593 Million)
      September 30, 2015     $92.405 Million       $83.310 Million         $2.243 Million ($1.722 Million)
3 Mos. December 31, 2015     $97.669 Million       $92.362 Million         $7.115 Million   $8.332 Million
   FY December 31, 2016     $368.817 Million      $339.853 Million      ($2.650 Million) ($10.799 Million)

              105.    In the weeks that followed, the Individual Defendants caused the Company to

       make additional announcements concerning the Board and former executives. On November 17,

       2016, despite recently being appointed as Chairman, Defendant Lewis, along with fellow Board

       member Defendant Gottesman, suddenly and abruptly resigned with no explanation given as to

       why. Then, on November 18, 2016, Defendant Henderson was appointed Chairman of the

       Board. It was also revealed that Defendant Matta, whose resignation had been classified as “for

       good reason,” guaranteeing him lucrative severance benefits paid out by the Company, was

       slotted to receive his current annual salary of $496,000 for a period of 24 months following his

       separation, or $992,000 along with ongoing COBRA medical insurance payments and any vested

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stock options and restricted stock units (including those that had been improperly vested).

Similarly, Defendant Wesley was to receive his then-current annual salary of $334,400 for a

period of 15 months following his separation, or $418,000, along with ongoing COBRA medial

insurance payments and any vested stock options and restricted stock units (including those that

had been improperly vested).

       106.    The news continued to go from bad to worse. Just days later, on November 23,

2016, the Individual Defendants caused comScore to announce that it had identified more

improper accounting, this time to certain monetary transactions. For the first time, it was

revealed that “the accounting treatment for certain monetary transactions [would] need to be

adjusted, principally relating to the timing of revenue recognition,” and that “[o]ne of these

transactions involved over-delivery of data that recurred in multiple periods, two others included

potential undisclosed additional arrangements that required contemporaneous contracts to be

accounted for as a single arrangement, and one related to partially delayed invoicing for

delivered data inconsistent with the terms of the contract.”

       107.    It was then admitted that the “Audit Committee’s investigation also identified

concerns regarding internal control deficiencies, including concerns about tone at the top;

errors in judgment identified with respect to issues reviewed; information not having been

provided to the Company’s accounting group and its external auditors; and the sufficiency of

public disclosures made by the Company about certain performance metrics.”

       108.    Nearly two weeks later, Defendant Abraham resigned from the Board effective

immediately.

       109.    At the start of 2017, NASDAQ threatened to permanently delist the Company’s

shares if the Individual Defendants did not make current the Company’s SEC filings. By



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February 6, 2017, the Individual Defendants caused the Company to update the market with

respect to its inability to meet this deadline, causing comScore’s stock to nosedive 21.9%.

       110.    The Wall Street Journal (“WSJ”) published an article, in response, suggesting that

the Company’s inability to meet a deadline for overdue financial disclosures “suggests problems

run deeper than previously thought.” (Emphasis added). In relevant part, the WSJ reported:

       For a company entrusted with providing accurate data on internet audiences,
       comScore is having a remarkably difficult time accurately measuring itself.

       The firm said Monday it faced possible delisting from Nasdaq because it couldn’t
       file its overdue financial disclosures in time. ComScore said Sept. 15 it would
       restate financial results from 2013, 2014, 2015 after an internal investigation
       discovered problems with its accounting.

       The Company also hasn’t submitted it annual securities filing for 2015 or any of
       its quarterly filings for 2016. Nasdaq had given it until Feb. 23 to complete the
       restatements. ComScore shares were down about 25% at midday.

                                         *       *      *

       The additional delay in filing the restatements suggests the problems run deeper
       than previously thought and may lead wary customers to look elsewhere for
       measurement data.

       111.    Four days later, on February 10, 2017, comScore shares were delisted from

NASDAQ and moved to over-the-counter trading.

                DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       112.    Plaintiff brings this action derivatively in the right and for the benefit of

comScore to redress injuries suffered, and to be suffered, by comScore as a direct result of the

Individual Defendants’ breaches of fiduciary duties.

       113.    Plaintiff is a current shareholder of comScore and has continuously held

comScore stock throughout the Relevant Period.

       114.    Plaintiff will adequately and fairly represent the interests of comScore and its

shareholders in enforcing and prosecuting its rights.

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         115.   The foregoing facts, among others, gave rise to Plaintiff’s reasonable suspicion

that one or more Company fiduciaries may have breached their duties owed to the Company

and/or engaged in other violations of law.

         116.   The Board currently consists of the following seven directors: Defendants

Henderson, Fulgoni, Livek, Engel, Fradin, Korn, and Rosenthal. Plaintiff has not made any

demand on the present Board to institute this action because such a demand would be a futile,

wasteful and useless act.

Demand is Futile as to Defendants Henderson, Fulgoni and Korn Due to Their Suspicious
Stock Sales

         117.   Three out of seven current members of the Board are interested and/or face a

substantial likelihood of liability in connection with their illicit insider stock sales discussed

above.

         118.   During the Relevant Period, suspiciously timed to occur after good news and

before bad news about comScore was released to the market, Defendants Henderson, Fulgoni

and Korn sold 35,654, 796,422, and 4,000 personally-held shares of comScore stock for proceeds

in excess of $1.44 million, $29.06 million and $208,000, respectively.         In each instance,

Defendants Henderson, Fulgoni and Korn executed these trades while in possession of material,

adverse, non-public information, and during a time when comScore’s stock was artificially

inflated due to the Individual Defendants’ false and misleading statements concerning the

Company’s revenue and revenue growth.

         119.   As a result of these illicit sales, Defendants Henderson, Fulgoni and Korn

received direct financial benefits not shared with comScore’s stockholders, and are, therefore,

directly interested in a demand. Further, Defendants Henderson, Fulgoni and Korn are interested




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in a demand because they face a substantial likelihood of liability for their breaches of fiduciary

duties of loyalty and good faith arising from their illicit insider sales.

Demand is Futile as to Defendants Henderson and Katz Due to Their Granting of
Performance-based Stock Options

          120.   During the Relevant Period, Defendants Henderson and Katz served as members

of the Board’s Compensation Committee and were responsible for approving and evaluating the

executive officer and non-executive level employee compensation plans, policies and programs

of the Company, and for administering the Company’s equity compensation plans.

          121.   Defendants Henderson and Katz, while aware that the Company’s reported

revenues were fictitious and that comScore’s stock was trading at artificially inflated prices,

nonetheless granted Defendants Matta and Wesley awards of stock options and restricted stock

units, fully vesting and exercisable when the average daily closing price of the Company’s

common stock exceeded pre-determined thresholds during any 30 consecutive calendar-day

period.

          122.   Thus, Defendants Henderson and Katz face a substantial likelihood of liability

and issuing a demand upon them would be a futile, wasteful and useless act.

The Board has Concluded in its Business Judgment that Defendant Fulgoni is Not
Independent, and for Similar Reasons, Neither is Defendant Livek

          123.   The principal professional occupation of Defendant Fulgoni is his employment

with comScore as its Co-Founder and CEO, pursuant to which he has received and continues to

receive substantial monetary compensation and other benefits. In addition, according to the

Company’s June 2015 Proxy Statement (the “2015 Proxy”), the Board has admitted that

Defendant Fulgoni is not independent under the NASDAQ listing standards, which defines an

independent director to be a person that the Board of Directors determines to be free of any



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relationship with comScore that, in the opinion of the Board, would interfere with the exercise of

such person’s independent judgment in carrying out the responsibilities of a director, and to meet

the then-current objective standards for “director independence” set forth in the listing standards.

Thus, Defendant Fulgoni lacks independence from demonstrably interested directors, rendering

him incapable of impartially considering a demand to commence and vigorously prosecute this

action.

          124.   Likewise, Rentrak’s last annual proxy statement to its shareholders expressly

conceded that Defendant Livek was not independent due to his executive positions with Rentrak

and his relationships with and dependence upon its board members for his livelihood. For the

same reasons, though Defendant Livek was not yet on comScore’s Board when its 2015 Proxy

was issued---and even though the Company has not yet held a 2016 annual general shareholder

meeting much less mailed out a Proxy statement for 2016---defendant Livek equally lacks

independence.

          125.   Both the comScore and Rentrak boards, which at present exist as one, likely did

not lightly classify Defendants Fulgoni and Livek as not independent.             Their respective

relationships, in the opinion of these boards, would evidently interfere with the exercise of

independent judgment in carrying out the responsibilities of a director, rendering them incapable

of impartially considering a demand to commence and vigorously prosecute this action.

          126.   Thus, there is reason to doubt that Defendants Fulgoni and Livek are independent

and issuing a demand on them would be a futile, wasteful and useless act.

The Director Defendants Face a Substantial Likelihood of Liability for Their Misconduct

          127.   The Director Defendants owed comScore the highest duty of loyalty and breached

that duty by recklessly permitting, and in some cases directly contributing to, the Company’s



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issuance of false and misleading statements concerning comScore’s fictitious growth.

Accordingly, the Director Defendants each face a substantial likelihood of liability.

       128.    During various times of the Relevant Period, Defendants Henderson, Korn, Lewis

and Rosenthal served as members of the Audit Committee. Pursuant to the Audit Committee

Charter, all members of the Audit Committee were and are responsible for, inter alia: (i)

reviewing on a continuing basis the adequacy of the Company's system of internal controls; (ii)

reviewing and discussing with management and the independent auditors the annual audited

financial statements and quarterly unaudited financial statements; (iii) reviewing before release

the unaudited quarterly operating results in the Company's quarterly earnings release; and (iv)

reviewing and approving in advance any proposed related party transactions.

       129.    Defendants Henderson, Korn, Lewis and Rosenthal breached their fiduciary

duties of due care, loyalty, and good faith, because the Audit Committee, inter alia, allowed or

permitted the Company to disseminate false and misleading statements in the Company’s SEC

filings and other disclosures and caused the above-discussed internal control failures. Therefore,

Defendants Henderson, Korn, Lewis and Rosenthal each face a substantial likelihood of liability

for their breach of fiduciary duties and any demand upon them is futile.

       130.    Each of the Director Defendants, individually and collectively, face a substantial

likelihood of liability as a result of their causing the Company to conceal the truth about its

financial condition, rendering them unable to impartially investigate the charges and decide

whether to pursue action against themselves on behalf of the Company.

       131.    The Director Defendants, as members of the Board, were and remain subject to

the Ethics Code, which warns, “You may not intentionally misrepresent the company's

financial performance or otherwise intentionally compromise the integrity of the company's



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reports, records, policies and procedures.” Moreover, the Ethics Code emphasizes the

importance of, and need for, comScore employees, officer and directors to use all reasonable

efforts to provide complete, fair, accurate, objective, relevant, timely and understandable

information to the public. The Director Defendants violated the Ethics Code by concealing the

truth, which artificially inflated the Company’s stock, causing and/or facilitating the insider

sales. Because the directors violated the Ethics Code, they face a substantial likelihood of

liability for their breaches of fiduciary duties.

        132.    Thus, for the reasons set forth above, all of the Director Defendants, and, if not all

of them, certainly the majority of the directors, cannot consider a demand with disinterestedness

and independence. Consequently, a demand upon the Board is excused as futile and this

stockholders derivative action should be allowed to proceed.

                                              COUNT I

                             Against the Individual Defendants for
                    Violations of §10(b) and Rule 10b-5 of the Exchange Act

        133.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

        134.    Throughout the Relevant Period, the Individual Defendants, by the use of means

or instrumentalities of interstate commerce, the United States mails, interstate telephone

communications, and a national securities exchange, employed a device, scheme, or artifice to

defraud, made untrue statements of material facts and omitted to state material facts necessary in

order to make the statements made, in light of the circumstances in which they were made, not

misleading, and engaged in acts, practices, and a course of business which operated as a fraud

and deceit upon the Company and shareholders in connection with their purchases of comScore




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stock during the Relevant Period, all in violation of Section 10(b) of the Exchange Act, 15

U.S.C. § 78j(b), and SEC Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.

         135.   The Individual Defendants, as the most senior officers and/or members of the

Board of comScore and various committees of the Board during the Relevant Period, are liable

as direct participants in all of the wrongs complained of herein. Through their positions of

control and authority, the Individual Defendants were in a position to and did control all of the

false and misleading statements and omissions made on behalf of the Company, including the

contents of all its public filings and reports and press releases, as more particularly set forth

above.

         136.   The Individual Defendants had actual knowledge of the misrepresentations and

omissions of material facts set forth herein, or acted with reckless disregard for the truth in that

they failed to ascertain and to disclose such facts, even though such facts were available to them

and they had express responsibility for knowing such facts. Such material misrepresentations

and omissions were made knowingly or recklessly and for the purpose and effect of concealing

the Company’s true financial and operating condition from shareholders and supporting an

artificially inflated price of the Company’s common stock.

         137.   The Individual Defendants acted with scienter throughout the Relevant Period, in

that they either had actual knowledge of the misrepresentations and/or omissions of material

facts set forth herein, or acted with reckless disregard for the truth in that they failed to ascertain

and to disclose the true facts, even though such facts were available to them. Specifically, under

GAAP, a “restatement” is a term of art used only where a company’s previously issued financial

statements were materially false as of the time of issuance and the misstatements were based on

“facts that existed at the time the financial statements were prepared.” In this case, comScore



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has announced that it will be issuing a broad restatement because “the Company cannot support

the prior accounting for the nonmonetary transactions recorded by the Company during the years

ended December 31, 2013, 2014, and 2015.” The Company’s Audit Committee has determined

that comScore’s “revenue and expenses associated with all nonmonetary transactions during the

periods identified above should be reversed and accounted for at historical cost rather than at fair

value.” (Emphasis added). comScore has since identified additional monetary transactions that

were improperly accounted for where revenue was improperly recognized. As revealed on

November 23, 2016, the Audit Committee’s investigation expressly, “identified concerns

regarding internal control deficiencies, including concerns about tone at the top…” (Emphasis

added). The Officer Defendants were among the senior management of the Company, and were

therefore directly responsible for the false and misleading statements and/or omissions

disseminated to the public through press releases, news reports and filings with the SEC.

       138.    The Officer Defendants signed certifications to various Forms 10-Q and 10-K

filed publicly with the SEC during the Relevant Period, attesting that they had reviewed the

reports and based on their knowledge, there were no untrue statements of material fact or

omissions of material fact necessary to make the statements made, in light of the circumstances

under which the statements were made, not misleading.

       139.    Accordingly, the Individual Defendants violated Section 10(b) of the Exchange

Act and Rule 10b-5 thereunder in that they:

               a. employed devices, schemes and artifices to defraud;

               b. made untrue statements of material facts or omitted to sate material facts

                   necessary in order to make the statements made, in light of the circumstances

                   under which they were made, not misleading; and/or



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                 c. engaged in acts, practices and a course of business that operated as a fraud or

                    deceit upon comScore and others in connection with their purchases of

                    comScore common stock during the Relevant Period.

       140.      As a result of the Individual Defendants’ misconduct, comScore has suffered and

will suffer damages.

       141.      Plaintiff, on behalf of comScore, has no adequate remedy at law.

                                            COUNT II

             Violations of §20(a) of the Exchange Act Against the Officer Defendants

       142.      Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

       143.      The Officer Defendants, by virtue of their positions within comScore and their

specific acts, were, at the time of the wrongs alleged herein, controlling persons of comScore

within the meaning of §20(a) of the Exchange Act. They had the power and influence and

exercised the same to cause comScore to engage in the illegal conduct and practices complained

of herein.

                                            COUNT III

              Against the Individual Defendants for Breach of Fiduciary Duties for
                        Disseminating False and Misleading Information

       144.      Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       145.      As alleged in detail herein, each of the Individual Defendants violated and

breached their fiduciary duties of loyalty and good faith by causing or allowing the Company to

disseminate to comScore shareholders materially misleading and inaccurate information through,

inter alia, SEC filings, press releases, conference calls and other public statements and

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disclosures as detailed herein. These actions could not have been a good faith exercise of

prudent business judgment to protect and promote the Company’s corporate interests.

       146.     As a direct and proximate result of the Individual Defendants’ foregoing breaches

of fiduciary duties, the Company has suffered significant damages. Thus, as a result of the

misconduct alleged herein, the Individual Defendants are liable to the Company

                                           COUNT IV

              Against the Individual Defendants for Breach of Fiduciary Duties for
                             Failing to Maintain Internal Controls

       147.     Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       148.     As alleged in detail herein, each of the Individual Defendants had a fiduciary duty

to, among other things, exercise good faith to ensure that the Company’s financial statements

were prepared in accordance with GAAP, and, when put on notice of problems with the

Company’s business practices and operations, exercise good faith in taking appropriate action to

correct the misconduct and prevent its recurrence.

       149.     The Individual Defendants, most notably those serving on the Board’s Audit

Committee, willfully ignored the known and pervasive problems with comScore’s internal

controls and practices and procedures and failed to make a good faith effort to correct these

problems or prevent their recurrence.

       150.     As a direct and proximate result of the Individual Defendants foregoing breaches

of fiduciary duties, the Company has suffered significant damages. Thus, as a result of the

misconduct alleged herein, the Individual Defendants are liable to the Company.




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                                             COUNT V

                   Against the Individual Defendants for Unjust Enrichment

          151.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

          152.   By their wrongful acts and omissions, the Individual Defendants were unjustly

enriched at the expense of and to the detriment of comScore.

          153.   Plaintiff, as a shareholder and representative of comScore, seeks restitution from

the Individual Defendants, and each of them, and seeks an order of this Court disgorging all

profits, benefits, and other compensation obtained by the Individual Defendants, and each of

them, as a result of their wrongful conduct and fiduciary breaches.

                                            COUNT VI

           Against the Insider Selling Defendants For Breach of Fiduciary Duties For
                     Insider Selling and Concealing Material Information

          154.   Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

          155.   At the time of each of the stock sales set forth above, the Insider Selling

Defendants knew, but did not disclose publicly, that the Company’s financials were not accurate,

due in part to improper accounting of data-sharing agreements with other companies that had no

cash attached, making the Company’s reported growth false . The Insider Selling Defendants, in

complete disregard of the Company’s Ethics Code, made each of the stock sales described herein

on the basis of and because of their knowledge of the material, non-public information described

herein.

          156.   Further, at the time of their stock sales, the Insider Selling Defendants knew that

when the Company’s lackluster financials were finally reported, the price of the Company’s

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common stock would dramatically decrease. The Insider Selling Defendants’ sale of comScore

common stock based on their knowledge of this material non-public information was a breach of

their fiduciary duties of loyalty and good faith.

       157.    Accordingly, the Company is entitled to the imposition of a constructive trust on

any profits the Insider Selling Defendants obtained thereby.

       158.    Plaintiff, on behalf of comScore, has no adequate remedy at law.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment as follows:

       A.      Declaring that Plaintiff may maintain this derivative action on behalf of comScore

and that Plaintiff is a proper and adequate representative of the Company;

       B.      Against Defendants and in favor of the Company for the amount of damages

sustained by the Company as a result of Defendants’ breaches of fiduciary duties;

       C.      Directing comScore to take all necessary actions to reform and improve its

corporate governance and internal procedures to comply with applicable law and to protect the

Company and its shareholders from a repeat of the damaging events described herein, including,

but not limited to, putting forward for shareholder vote resolutions for amendments to the

Company’s By-Laws or Articles of Incorporation and taking such other action as may be

necessary to place before shareholders for a vote a proposal to strengthen the Board’s

supervision of operations and develop and implement procedures for greater shareholder input

into the policies and guidelines of the Board;

       D.      Awarding to comScore restitution from Defendants, and each of them, and

ordering disgorgement of all profits, benefits and other compensation obtained by the

Defendants;



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       E.      Awarding to Plaintiff the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees, costs and expenses; and

       F.      Granting such other and further relief as the Court deems just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury.

       Dated: February 17, 2017                     /s/ Joseph R. Seidman, Jr.

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